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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,
        Plaintiff,

       v.                                                   Civil Action No. 22-2292 (CKK)

PETER K. NAVARRO,
         Defendant.


                                            ORDER
                                          (April 9, 2024)

      It is this 9th day of April, 2024, hereby

      ORDERED, that this case is referred to Magistrate Judge G. Michael Harvey to conduct
an in camera review of the documents in Defendant’s possession, custody, or control that may be
Presidential records as that term is defined by the Presidential Records Act, 44 U.S.C. §§ 2201 et
seq., and to issue a Report and Recommendation recommending a disposition as to those records
pursuant to LCvR 72.3(a). It is further
      ORDERED, that Defendant shall, on or before May 31, 2024, lodge with the Chambers
of Magistrate Judge Harvey all documents that prior searches have identified as potential
Presidential records as described in the status reports, see ECF No. 29, ECF No. 33, and any other
searches run by Defendant to identify potentially responsive records, see ECF No. 40 at 6. Each
document shall be clearly labeled (on the document itself) as: (1) a document reviewed by the
Court and found to be a Presidential record; (2) a document reviewed by the Court and found not
to be a Presidential record; (3) a document reviewed by the Court and found to be inconclusive
(without additional information) as it whether or not it was a Presidential record; (4) a document
that has been produced to the Government; and (5) a document that has not been produced to the
Government.    The document’s label shall reflect all categories to which it belongs.         The
documents shall also be marked with the applicable “DCD_Review” number, the number from
the numbering scheme used on the documents produced to the Government, or both (if
applicable). See ECF No. 41 at 3 n.1 (indicating that a different numbering scheme was used for
the documents produced to the Government). It is further

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       ORDERED, that Magistrate Judge Harvey shall have the authority to conduct any
proceedings and issue any orders as may be appropriate to aid in consideration of the issues before
him, including but not limited to ordering discovery as authorized by the Federal Rules of Civil
Procedure, taking testimony under oath, requiring additional briefing, and scheduling.

       SO ORDERED.

Date: April 9, 2024
                                                           /s/
                                                    COLLEEN KOLLAR-KOTELLY
                                                    United States District Judge




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